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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                 )
      UNITED STATES OF AMERICA                   )
                                                 )      CRIMINAL NO. 2:16-cr-00055-TFM
                    v.                           )      (18 u.s.c. 371)
                                                 )
                                                 )
      SIMON T. TUSHA                             )




                                         PROPOSED ORDER

      Upon consideration of Defendant's Motion for Withdrawal of Appearance as Counsel it is this
      S-<1tay of     dtJ · ,2016 hereby;
             ORDERED that     Defe~nat's Motion is tt Jlifll80. ~
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        ,,, s<foRDERED. /itU) ~,,
                                  it;                                     ~
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         ~lwJ.i)~

                                                 Hon. 'f.11n111wlhi MeYifity
                                                 Senior Judge, Western District of Pennsylvania
